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8                               IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                 Plaintiff,                            Cr. No. S-02-0468 MCE

12           vs.

13   MONTE D. McFALL,

14                 Defendant.                            ORDER

15                                              /

16                 On July 17, 2006, the court heard argument on T. Baxter Dunn’s motion to quash

17   a subpoena served on him by former co-defendant Monte McFall. Wayne Ordos appeared for

18   Dunn; Victor Haltom and John Duree appeared for Mr. McFall.

19   A. Background

20                 On September 9, 2004, a fourth superseding indictment was returned against

21   Monte McFall, N. Allen Sawyer, Baxter Dunn and others, charging Dunn with one count of

22   conspiracy to commit extortion, 18 U.S.C. § 1951, four counts of honest services mail fraud, 18

23   U.S.C. §§ 1341 & 1346, one count of honest services wire fraud, 18 U.S.C. §§1343 & 1346, one

24   count of attempting to harass witnesses, 18 U.S.C. § 1512(d)(4), and one count of making false

25   statements to federal agents, 18 U.S.C. § 1001. Docket No. 264.

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1                   On January 13, 2005, Dunn pleaded guilty to one count of honest services mail

2    fraud and agreed to cooperate with the government. Docket No. 380 (plea agreement). The

3    agreement provided, in part, that

4                   “cooperation” requires the defendant to : (a) respond truthfully and
                    completely to all questions . . .; (b) never falsely inculpate or
5                   exculpate anyone. . . .

6                   Violation of the Plea Agreement. . . .[I]f any of his statements or
                    testimony proves to be knowingly false, misleading, or materially
7                   incomplete, or if he otherwise violates this Plea Agreement, the
                    government will no longer be bound by its representations
8                   concerning the limits on criminal prosecution and sentencing set
                    forth herein.
9

10   Docket No. 380 ¶ II D.

11                  The remaining defendants, except McFall, also pleaded guilty. McFall was

12   convicted after a lengthy jury trial. Docket No. 451 (minutes).

13                  On July 15, 2005, McFall filed a motion for new trial, alleging, among other

14   things, that trial counsel should have continued the trial in order to secure Dunn’s testimony,

15   which would have been exculpatory, as reflected in the notes of his debriefing sessions with

16   representatives of the government. See Docket Nos. 512, 517. On April 24, 2006, the Honorable

17   Morrison C. England set an evidentiary hearing on the motion, to begin today, July 19, 2006.

18                  At the hearing on this motion to quash, the court provided McFall’s counsel the

19   opportunity to submit a list of questions he anticipates posing to Dunn at the district court’s

20   evidentiary hearing; this he has done. Counsel for Dunn has replied to the proposed questions by

21   indicating that Dunn will invoke his Fifth Amendment right in response to all the questions.

22   B. Application Of the Sixth Amendment To The New Trial Motion Proceedings

23                  McFall argues that he has a Sixth Amendment and Fourteenth Amendment right

24   to present witnesses in his favor at the hearing for the motion for a new trial. He relies on

25   Washington v. Texas, 388 U.S. 14 (1967) and Chambers v. Mississippi, 410 U.S. 284 (1973),

26   which discuss the application of the compulsory process clause to criminal trials. At the hearing

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1    on the motion, counsel could not direct the court to any cases extending this right to a hearing on

2    a motion for a new trial. There is some suggestion in the law that the right does not extend to

3    proceedings other than trial. See Pennsylvania v. Ritchie, 480 U.S. 39, 52 (1987) (right to

4    confront and cross-examine is a trial right, designed to prevent restrictions on questions during

5    cross-examination; it does not create a right to pretrial discovery); but see Menefield v. Borg, 881

6    F.2d 696 (9th Cir. 1989) (under California law, motion for a new trial is a “critical state” of the

7    proceedings and Sixth Amendment thus requires the appointment of counsel). Although it is not

8    clear that McFall may rely on the Constitution in seeking to compel Dunn’s attendance, the

9    court’s ultimate resolution of the motion does not require it to resolve this question.

10   C. The Motion To Quash

11                  McFall argues broadly that a defendant loses his Fifth Amendment right not to

12   incriminate himself as to those counts to which he pleaded guilty and to those dismissed as part

13   of a plea bargain. He relies on United States v. Pardo, in which the court observed:

14                  It is clear that the privilege against self-incrimination ceases to
                    apply once a witness has been convicted of the offense with respect
15                  to which he fears incrimination. . . . It is well established that once
                    a witness has been convicted for the transactions in question, he is
16                  no longer able to claim the privilege of the Fifth Amendment and
                    may be compelled to testify.
17
                    ......................................................
18
                    Similarly, the privilege is also lost with respect to charges or
19                  counts of an indictment which are dismissed as part of a plea
                    agreement. . . .Since promises to dismiss charges as part of a plea
20                  agreement are binding on the Government, a witness may not be
                    exposed to prosecution on those charges, and the need for the
21                  privilege is lost.

22   636 F.2d 535, 542 (D.C. Cir. 1980) (citation omitted). The court in Pardo observed, however,

23   that no argument was made that the witness in that case had a right not to testify concerning the

24   one incident about which defense counsel sought to question him, “because of the possibility that

25   other charges, such as a conspiracy charge, could be brought against him.” Id. at 543 n.24.

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1                   The District of Columbia Circuit has acknowledged the existence of Pardo,

2    without necessarily embracing the sweep of its holding. For example, in United States v. Lugg,

3    892 F.2d 101, 103 (D.C. Cir. 1989), the court noted that the subpoenaed defendants had not been

4    sentenced and so retained their Fifth Amendment rights; it also observed that

5                   [i]f for any reason the plea bargain became ineffective, for example
                    if Robinson or Goff gave false testimony or if the plea bargain for
6                   any other reason came apart, the other charges might never be
                    dismissed. Thus the court could not compel the testimony in the
7                   face of each witness’s invocation of her Fifth Amendment
                    privilege.
8

9    The Ninth Circuit has similarly opined:

10                  A voluntary guilty plea . . . is a waiver of the fifth amendment
                    privilege only in regard to the crime that is admitted; the defendant
11                  retains the right against self-incrimination as to any crimes for
                    which he may still be prosecuted. . . .A co-defendant who pleads
12                  guilty to one count of an indictment cannot be forced to testify by
                    another defendant when there is still a genuine possibility that the
13                  pleading co-defendant could be prosecuted for other charges, either
                    under the original indictment or in some later proceeding.
14

15   United States v. Moore, 682 F.2d 853, 856 (9th Cir. 1982) (citations omitted).

16                  This court rejects any broad rule that a plea and a plea bargain extinguishes a

17   defendant’s Fifth Amendment rights for all purposes. Accordingly, the court turns to Dunn’s

18   reasons for claiming that his privilege protects him from appearing in response to McFall’s

19   subpoena.

20          1. State Charges

21                  Dunn argues that he faces the possibility of being charged with a violation of

22   California Government Code § 1090, which provides in pertinent part:

23                  Members of the Legislature, state, county, district, judicial district,
                    and city officers or employees shall not be financially interested in
24                  any contract made by them in their official capacity, or by any body
                    or board of which they are members. Nor shall state, county,
25                  district, judicial district, and city officers or employees be
                    purchasers at any sale or vendors at any purchase made by them in
26                  their official capacity.

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1    McFall counters that the statute does not cover the kind of conduct involved in Dunn’s

2    connection and contract with Sunlaw Corporation and that the statute of limitations has run.

3                            A. Statute of Limitations

4                    The California statute of limitations for a variety of fraud offenses, including a

5    violation of California Government Code § 1090, is four years from the discovery of the

6    commission of the offense or after completion of the offense, whichever is later. See Cal. Pen.

7    Code §§ 801.5 & 803(c)(4). The “discovery” component incorporates a requirement of

8    diligence:

9                    [t]he crucial determination is whether law enforcement authorities
                     or the victim had actual notice of circumstances sufficient to make
10                   them suspicious of [criminal activity] thereby leading them to
                     make inquiries which might have revealed the [criminal activity].
11

12   People v. Lopez, 52 Cal.App.4th 233, 248 (3d Dist. 1997) (citation omitted). Although the

13   parties hotly dispute when Dunn’s activities with Sunlaw were discovered, the factual basis for

14   Dunn’s plea suggests that the governmental victim and/or state law enforcement officials “had

15   actual notice of circumstances sufficient to make them suspicious,” when Dunn began to lobby

16   various officials with the City of Stockton, the Port of Stockton and San Joaquin County, which

17   occurred between February through “at least August, 2001.” Docket No. 380 (Factual Basis ¶ 3).

18   Under this scenario, the statute of limitations on any charge under section 1090 would have

19   started to run in August 2001 and run out in August 2005.1

20                           B. Application Of Section 1090

21                   McFall argues that Dunn’s arrangement with Sunlaw was a private contract

22   unrelated to Dunn’s duties and responsibilities as Sheriff of San Joaquin County; therefore, even

23

24           1
                 In any case, it appears the latest the statute of limitations would have begun to run is July
     16, 2002, when FBI agents Lester and Artley interviewed Dunn in his office, asking a range of
25   questions relating to Sunlaw, agreements between and among Dunn, McFall and Sawyer, and Dunn’s
     activities relating to San Joaquin County’s power plant bidding process. See Opp’n to Mot. To
26   Quash (Opp’n), Ex. A (docket no. 561).

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1    if the statute of limitations has not run, Dunn has no exposure under section 1090.

2                   In Thompson v. Call, the California Supreme Court described the conduct

3    prohibited by section 1090:

4                   The proscribed interest certainly includes any direct interest, such
                    as that involved when an officer enters directly into a contract with
5                   the body of which he is a member. California courts have also
                    consistently voided such contracts where the public officer was
6                   found to have an indirect interest therein. In Moody v. Shuffleton
                    (1928) 203 Cal.100, 262 P. 1095, for example, a county supervisor
7                   sold his printing business to his son and took a promissory note
                    secured by a chattel mortgage on the business. Because the
8                   business helped to secure the value of the official’s mortgage, we
                    held that a conflict existed when printing contracts were awarded
9                   to the son.

10   38 Cal.3d 633, 645 (1985) (most internal citations omitted; emphasis in original). In addition,

11   the California Attorney General has considered whether

12                  a sheriff in his individual capacity contract[ed] with the Board of
                    Supervisors to furnish the county the use of his heavy construction
13                  equipment when such services are not being performed for the
                    sheriff’s office or department?
14

15   46 Op. Cal. Att’y Gen. 112 (1965). The Attorney General concluded that section 1090 did not

16   preclude such a contract because

17                  The section is intended to proscribe situations where a public
                    official might have a divided allegiance on a matter which might
18                  comes before him in his official capacity.

19   Id. at 113. Dunn has not explained how his private contract with Sunlaw, which was attempting

20   in turn to secure a contract with the Port of Stockton, would cause him to have divided loyalties

21   on any matter that might come before the Sheriff.2 Accordingly, it does not appear that Dunn

22   faces prosecution for any violation of California Government Code § 1090.

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                 Although Dunn has not argued the point, he did speak in his official capacity as Sheriff
24   on the ammonia transport issue related to Sunlaw’s competitor Calpine at a Board of Supervisors’
     meeting on June 26, 2001. Opp’n, Ex. A at 8-9. Even if his being in a position to provide such
25   testimony is viewed as causing him to have divided loyalties, it would not alter this court’s resolution
     of his motion, given his possible exposure to federal charges other than those on which he was
26   indicted, as discussed below.

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1            2. Federal Charges

2                    Dunn argues that his testimony at the hearing might lead to conspiracy charges not

3    covered by the indictments and plea agreement in this case or to a claim that he breached his

4    cooperation agreement by giving misleading or incomplete information during the debriefing

5    sessions.

6                    At the court’s invitation, McFall’s counsel submitted proposed questions for

7    Dunn; they all ask whether Dunn agreed with his co-defendants to take various actions in

8    connection with their attempts to influence Calpine Corporation to withdraw its bid to build a

9    power plant and to threaten economic harm to Calpine. See Docket No. 572. These questions

10   focus on the conduct alleged in the Fourth Superseding Indictment and on charges resolved in the

11   plea agreement. As noted, Dunn’s counsel has filed a response, indicating that his client will

12   assert his Fifth Amendment right in response to all the questions proposed. See Docket No. 574.

13                   In United States v. Lowell, 649 F.2d 950 (3d Cir. 1981), the defendant Lowell was

14   charged in a bribery conspiracy involving the General Services Administration and a company

15   called Atlas Paint and Varnish. Lowell sought to call as a witness a former co-defendant,

16   Montalbano, who had pleaded guilty to a conspiracy charge and had been sentenced; Lowell

17   proposed four questions about Montalbano’s dealings with Atlas Paint and Varnish. Id. at 961.

18   Montalbano’s lawyer raised his client’s Fifth Amendment rights as a bar to his testimony. The

19   district court upheld the claim; following his conviction, Lowell appealed.

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1                   The Third Circuit found this assertion appropriate:

2                   Montalbano may have been indictable for any payoff schemes he
                    may have participated in apart from Atlas, with or without the
3                   participation of Lowell. Thus, had Montalbano testified, he would
                    have run the risk of self-incrimination even if his testimony was
4                   truthful and consistent with his prior statements. . . . On the other
                    hand, if Montalbano’s prior statements were untrue, truthful
5                   testimony in this trial could have exposed him to perjury charges,
                    in addition to providing additional links in the chain of evidence
6                   necessary to uncover the full extent of Montalbano’s tax evasion
                    and receipt of bribes. . . .
7

8    Id. at 961-62. The court also observed, distinguishing Pardo:

9                   It would be impossible to limit the scope of Montalbano’s
                    testimony vis-a-vis Lowell to nonincriminating matters. Those
10                  crimes for which Montalbano still faces prosecution were part of
                    the same pattern allegedly begun between Montalbano and Lowell.
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                    ......................................................
12
                    Although the standard we apply is generous to Montalbano, the
13                  cases establish that such generosity is inevitable.

14   Id. at 963. In addition, should examination or cross-examination suggest that Dunn had

15   minimized his involvement during the debriefing or had otherwise misled the government about

16   his role in threatening or extorting Calpine, he faces the possibility that his statements or

17   testimony might constitute a breach of the plea agreement, leading to reprosecution. See United

18   States v. Gerant, 995 F.2d 505, 508 (4th Cir. 1993) (defendant breached cooperation agreement

19   by “intentionally omitting and withholding information and by providing false testimony”).

20   Because of this danger, this court applies the generous standard referenced in Lowell and finds

21   that Dunn could reasonably invoke his Fifth Amendment privilege against self-incrimination as

22   ground for refusing to answer essentially all relevant questions at the hearing on McFall’s motion

23   for a new trial. See United States v. Kordel, 397 U.S. 1, 9 & n.14 (1970); United States v.

24   Gomez-Rojas, 507 F.2d 1213, 1219 (9th Cir. 1975). Dunn’s motion to quash shall be granted.

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1                   IT IS SO ORDERED.

2    DATED: July 19, 2006.

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4                                           UNITED STATES MAGISTRATE JUDGE
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